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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION




UNITED STATES OF AMERICA                §
                                        §
versus                                  §             Criminal Case 7:15−cr−01806
                                        §
Luis Gerardo Betancourt                 §



                  RECEIPT FOR WITHDRAWAL OF EXHIBITS

   Exhibits appearing on the Notice Regarding Exhibits entered on 9/29/2020
have been received by Nora Casiano, representative of Government.



Date: October 6, 2020                  _____________________________
                                     Signature
